    Case: 1:09-cv-01190 Document #: 70 Filed: 08/31/09 Page 1 of 7 PageID #:347




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


JAMES DEAN, JR., et al.,                            )
                                                    )
                              Plaintiffs,           )
                                                    )
       vs.                                          )       Case No. 09 C 1190
                                                    )
CITY OF CHICAGO and CHICAGO                         )
POLICE OFFICER R. FIORITO,                          )
                                                    )
                              Defendants.           )


                          MEMORANDUM OPINION AND ORDER

MATTHEW F. KENNELLY, District Judge:

       Nineteen plaintiffs have sued the City of Chicago and police officer Richard

Fiorito pursuant to 42 U.S.C. § 1983. The defendants have moved to sever the

plaintiffs' claims or in the alternative for a separate trial of each plaintiff’s claim.

                                            Background

       The case began as a single-plaintiff suit by James Dean, Jr. against the City,

officer Fiorito, and another officer named Hazard. After the defendants answered the

complaint, Dean moved pursuant to Local Rule 40.4 for reassignment to the

undersigned judge's calendar of five other suits by different plaintiffs against the City

and Fiorito, arguing that the cases were "related" within the meaning of the Rule. The

same attorneys represented the plaintiff and defendants in all of the cases; the cases

all named the same defendants; and they all included a claim against the City alleging

that the constitutional violations were caused by the same policy or practice of the City.

The Court entered and continued the motion on the ground that it was premature,
    Case: 1:09-cv-01190 Document #: 70 Filed: 08/31/09 Page 2 of 7 PageID #:348




largely because the defendants had not yet answered the complaints in the other

cases. The Court suggested to plaintiffs' counsel, however, the possibility of filing a

single complaint including the claims of all of the plaintiffs.

       About two weeks later, Dean filed an amended complaint joining eighteen other

plaintiffs. All of the plaintiffs allege that Fiorito falsely arrested them for driving under

the influence (DUI) on various dates from 2003 through early 2009, most of them during

the 2007-2009 period. Plaintiffs allege that Fiorito made these false arrests as part of a

continuing course of conduct motivated by, among other things, pecuniary gain and

anti-gay and lesbian animus.1 See Am Compl. ¶¶ 12, 21. They allege that Fiorito, who

worked a night shift and allegedly resisted shift changes, is paid overtime whenever he

goes to court because court appearances always take place outside his shift. Id. ¶ 24.

Plaintiffs also allege that although most police officers have a single monthly “key date”

for court appearances, which they use on traffic citations they issue, Fiorito is permitted

to have four key dates and routinely appears in court on additional days beyond those

four – as many as four days per week, plaintiffs allege. Id. ¶ 26.

       Plaintiffs allege that the City maintained a common set of policies that caused

their false arrests: the agreement to provide overtime pay to officers making court

appearances outside their shifts; the absence of limits on overtime pay; the absence of

oversight for unnecessary or excessive court appearances and for abuse of the

overtime system; the failure to limit the number of key dates per officer; acquiescence



       1
          The plaintiffs allege they were all arrested in an area of Chicago heavily
populated by gays and lesbians and containing numerous bars catering to gays and
lesbians.

                                               2
    Case: 1:09-cv-01190 Document #: 70 Filed: 08/31/09 Page 3 of 7 PageID #:349




in Fiorito’s refusal to allow a video camera to be installed in his squad car; and the

failure to follow up on complaints by other officers about Fiorito’s abuse of overtime pay

claims. Id. ¶ 27. Plaintiffs contend that these policies encouraged Fiorito to make false

arrests to increase the amount of his overtime pay. Plaintiffs also allege that Fiorito

engaged in a common practice of falsifying certain recurring items in his reports of his

DUI arrests and of giving false testimony at trials and other proceedings relating to the

arrests. Id. ¶¶ 13-19.

                                        Discussion

       Defendants have moved to sever the claims of the plaintiffs pursuant to Federal

Rule of Civil Procedure 21, arguing, in essence, that each plaintiff should have to file a

separate suit. See Houseman v. U.S. Aviation Underwriters, 171 F.3d 1117, 1122 (7th

Cir. 1999) (successful Rule 21 motion results in independent actions). In the

alternative, they seek a separate trial of each plaintiff’s claim pursuant to Federal Rule

of Civil Procedure 42(b).

       Rule 21 is simple and straightforward; it states that “[m]isjoinder of parties is not

a ground for dismissing an action. On motion or on its own, the court may at any time,

on just terms, add or drop a party. The court may also sever any claim against a party.”

Fed. R. Civ. P. 21. The rule gives a court “broad discretion” in determining whether to

sever a claim. Rice v. Sunrise Express, Inc., 209 F.3d 1008, 1016 (7th Cir. 2000).

       The propriety of joinder is determined pursuant to Federal Rule of Civil

Procedure 20(a). Under Rule 20(a)(1),

       [p]ersons may join in one action as plaintiffs if:



                                              3
    Case: 1:09-cv-01190 Document #: 70 Filed: 08/31/09 Page 4 of 7 PageID #:350




       (A) they assert any right to relief jointly, severally, or in the alternative with
       respect to or arising out of the same transaction, occurrence, or series of
       transactions or occurrences; and

       (B) any question of law or fact common to all plaintiffs will arise in the action.

Fed. R. Civ. P. 20(a)(1). Rule 20(a)’s purpose in permitting joinder of separate

plaintiffs’ claims is “is to enable economies in litigation.” Elmore v. Henderson, 227

F.3d 1009, 1012 (7th Cir. 2000).

       It is relatively obvious that the arrest of each plaintiff in this case is a different

transaction or occurrence as Rule 20(a) uses those terms. But it is equally true that the

arrests are part of a “series of transactions or occurrences,” a separate basis permitting

joinder under Rule 20. This term “comprehend[s] a series of many occurrences,

depending not so much upon the immediateness of their connection as upon their

logical relationship.” Mosley v. Gen. Motors Corp., 497 F.2d 1330, 1333 (8th Cir.1974).

       The defendants rely heavily on the Seventh Circuit’s decision in Thompson v.

Boggs, 33 F.3d 847 (7th Cir. 1994). In Thompson, the first plaintiff alleged that the

defendant police officer had subjected him to excessive force in arresting him following

a high-speed chase. The district judge denied a motion to add a second plaintiff who

also alleged that he was a victim of excessive force by the defendant officer and that

the municipality that employed the officer had a policy of condoning his use of

excessive force. The court of appeals, noting the broad discretion accorded to a district

judge under Rule 20, see id. at 858, concluded that the trial had had not “abuse[d] its

wide discretion” in denying the second plaintiff’s motion to join the case. Id. The court

noted that the two incidents were separated by about two years, a factor that also exists



                                               4
    Case: 1:09-cv-01190 Document #: 70 Filed: 08/31/09 Page 5 of 7 PageID #:351




in the present case. Id. Another significant factor not existing in the present case,

hwoever, was the fact that the second plaintiff in Thompson sought to join the case over

a year after Thompson filed suit. The court noted that allowing joinder “would have

delayed adjudication of Thompson’s claims.” Id. In the present case, by contrast, the

plaintiffs have sought joinder near the outset of the case, and thus their joinder will not

delay the adjudication of the original plaintiffs’ claims or those of any other plaintiff.

       In addition, given the deferential standard of appellate review, the court’s

determination in Thompson that denial of joinder was not an abuse of discretion does

not mean that denial of joinder was the only correct choice. An abuse of discretion

“means something more than [the court of appeals’] belief that [it] would have acted

differently if placed in the circumstances confronting the district judge. For an abuse of

discretion to occur, the district court’s decision must strike [the court of appeals] as

fundamentally wrong.” Johnson v. J.B. Hunt Transport, Inc., 280 F.3d 1125, 1131 (7th

Cir. 2002).

       The arrests in this case are tied together by several factors: all involved the

same arresting officer (Fiorito); all involved a common set of allegedly improper

practices by Fiorito, including the institution of false charges for personal gain and the

falsification of evidence; and all of them are claimed to have been caused by a common

set of policies and practices on the part of the City of Chicago. That, in addition to the

timeliness of plaintiffs’ joinder of their claims, is sufficient to permit a determination that

they are asserting a right to relief arising out of the same series of transactions or

occurrences. The claimed existence of the City’s policies likewise is a question of both

fact and law that is common to each plaintiff’s claim. The requirements of Rule 20(a)(1)

                                               5
    Case: 1:09-cv-01190 Document #: 70 Filed: 08/31/09 Page 6 of 7 PageID #:352




therefore have been met. See, e.g., Mosley, 497 F.2d at 1333-34 (permitting joinder of

claims of ten plaintiffs alleging separate incidents of race discrimination baesd on an

alleged common practice of discrimination in terms and conditions of employment);

Puricelli v. CNA Ins. Co., 185 F.R.D. 139, 142-43 (N.D.N.Y. 1999) (permitting joinder of

claims of two plaintiffs alleging a separate incidents allegedly part of a common pattern

of discriminatory conduct); Resnick v. Amer. Dental Ass’n, 90 F.R.D. 530, 535 (N.D. Ill.

1981) (permitting joinder of claims of two plaintiffs alleging distinct injuries arising from

an allegedly common policy of discrimination against female employees).

       The Court also notes that joinder of the cases will lead to some significant

economies. Among other things, the legal viability of the plaintiffs’ claims can be

determined once rather than nineteen times. In addition, though each arrest and

resulting prosecution certainly involves its own set of facts and circumstances, joinder

of the cases will permit more economical discovery of the common issues, particularly

those relating to the plaintiffs’ allegations regarding the City’s policies. Moreover,

though the Court does not and need not determine at this juncture that all of the cases

can be tried in a single proceeding, were this a single-plaintiff case, the plaintiff likely

would be permitted to offer some evidence of other similar incidents, subject of course

to the limits imposed by Federal Rule of Evidence 403, to show the existence of a policy

or practice on the part of the City and a common modus operandi on the part of Fiorito.

These considerations further buttress the Court’s determination that joinder of the

plaintiffs’ claims under Rules 20 and 21 is appropriate.

       Defendants seek, in the alternative, severance of the various plaintiffs’ claims for

trial pursuant to Federal Rule of Civil Procedure 4(b)2. To decide such a motion, a

                                               6
    Case: 1:09-cv-01190 Document #: 70 Filed: 08/31/09 Page 7 of 7 PageID #:353




court considers (among other things) whether joint or separate trials would better

promote judicial economy and the prejudice that might be caused by a joint trial on the

one hand or by severance on the other. See, e.g., Houseman, 171 F.3d at 1121.

       Defendants’ request for separate trials is premature. The case has not

progressed far enough for the Court to determine whether severance for purposes of

trial is appropriate. The Court can conceive of scenarios under which a joint trial of all

or at least some of the plaintiffs’ claims might be appropriate and under which separate

trials might better serve the policy considerations underlying Rule 42. As the case

develops, the degree of overlap among the various plaintiffs' claims and the prejudice

that each side would experience from a joint trial or separate trials will become easier to

assess. In the Court's view, the appropriate time to determine that issue will be after

the conclusion of discovery and, in all likelihood, after the Court has ruled on dispositive

motions. See, e.g., Lopez v. City of Chicago, No. 01 C 1823, 2002 WL 335346, at *3

(N.D. Ill. Mar. 1, 2002).

                                       Conclusion

       For these reasons, the Court denies defendants’ motion to sever (the denial of

the request for separate trials under Rule 42(b) is without prejudice). Defendants are

directed to respond to the amended complaint by no later than September 20, 2009.

The case is set for a status hearing on September 23, 2009 at 9:30 a.m.



                                                 ________________________________
                                                      MATTHEW F. KENNELLY
                                                      United States District Judge
Date: August 31, 2009


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